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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

   THE SHANE GROUP, INC. ET AL.,
                                                    Civil Action No. 2:10-cv-14360-DPH-
      Plaintiffs, on behalf of themselves             MKM
      and all others similarly situated,
                       vs.
                                                    Judge Denise Page Hood
   BLUE CROSS BLUE SHIELD OF                        Magistrate Judge Mona K. Majzoub
   MICHIGAN,
      Defendant.


    ORDER APPROVING SETTLEMENT WITH VARNUM GROUP PURSUANT TO
                          RULE 23(e)(5)(B)

        WHEREAS, this matter has come before the Court by way of oral motion under Fed. R.

 Civ. P. 23(e)(5)(B) for approval of the Plaintiffs’ settlement with objectors ADAC Automotive,

 Baker College, Borroughs Corporation, Eagle Alloy Inc., Floracraft Corporation, Four Winds

 Casino Resort, Frankenmuth Bavarian Inn Inc., Gemini Group Inc., GillRoy's Hardware/Morgan

 Properties LLC, Grand Traverse Band of Ottawa and Chippewa Indians, Huizenga Group, Kent

 Companies Inc., Magna International of America, Inc., Master Automatic Machine Company Inc.,

 Petoskey Plastics Inc., SAF-Holland USA Inc., Terryberry Company LLC, Thelen Inc., Trillium

 Staffing Solutions, Truss Technologies, and Wade Trim Group Inc., (collectively, the “Varnum

 Group”);

        WHEREAS, on September 30, 2019, this Court entered two orders (ECF 364 and 365) that

 (a) granted Plaintiffs’ Motion for Final Approval of Settlement and Plan of Allocation (b) granted

 Class Counsel’s Motion for Award of Attorneys’ Fees, Reimbursement of Expenses, and Payment

 of Incentive Awards to Class Representatives, and (c) granted in part and denied in part the
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 Varnum Group’s Motion for Attorney Fees and Costs (collectively, the “Settlement Approval

 Orders”);

         WHEREAS, on October 28, 2019, the Varnum Group appealed the Settlement Approval

 Orders to the United States Court of Appeals for the Sixth Circuit (ECF No. 371) (the “Varnum

 Group Appeal”), and on November 8, 2019, Plaintiffs appealed the order granting in part attorney

 fees to the Varnum Group (ECF No. 376) (the “Class Counsel Appeal”);

         WHEREAS, on August 21, 2020, the United States Court of Appeals for the Sixth Circuit

 entered an order dismissing both the Varnum Group Appeal and the Class Counsel Appeal for lack

 of jurisdiction and remanded to this Court for purposes of determining an appropriate fee award to

 counsel for the Varnum Group (ECF No. 389);

         WHEREAS, on October 21, 2020, this Court entered the Stipulated Order Authorizing

 Mediation of Varnum Group Objection and Motion for Attorney Fees before Paul Calico, Chief

 Circuit Mediator, United States Court of Appeals for the Sixth Circuit (ECF No. 393);

         WHEREAS, the parties and the Varnum Group also obtained the consent of the Honorable

 Guy Cole, Chief Judge of the United States Court of Appeals for the Sixth Circuit, to continue

 mediation with Mr. Calico;

         WHEREAS, upon consideration of the appellate briefing, the Settlement Approval Orders,

 and conferences with Class Counsel and Mr. Calico, the Varnum Group has concluded,

 notwithstanding their objections, (a) that the Settlement is in their best interest, (b) that the Court’s

 rulings in approving the Settlement are correct and without error, (c) that the Settlement should be

 implemented in accordance with the Court’s Settlement Approval Orders, and (d) that further delay

 in distributing compensation to the Class should be avoided to the extent possible;




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        WHEREAS, the Plaintiffs agree that the Varnum Group’s objections assisted in framing

 the issues for consideration by the Court in connection with settlement approval under Fed. R. Civ.

 P. 23(e) and improved the settlement approval process by causing the unsealing of court filings

 which assisted class members in analyzing the merits of the Settlement.

        WHEREAS, on December 10, 2020, this Court held a hearing by video conference

 whereby Class Counsel informed the Court that a settlement had been reached wherein: (a) Class

 Counsel and defendant Blue Cross Blue Shield of Michigan (“BCBSM”) agree that, subject to the

 Court’s approval, all claims submitted by January 29, 2021 (unless extended for good cause) by

 class members, including members of the Varnum Group, shall not be rejected on the grounds that

 they are untimely; (b) BCBSM agrees to timely provide reasonably available claims data as needed

 by members of the Varnum Group to submit claims by January 29, 2021 (unless extended for good

 cause), and Class Counsel agree to assist class members as needed in submitting their claims; (c)

 counsel for the Varnum Group has reduced their attorney fee request from in excess of $500,000

 to $300,000, and Class Counsel will pay from their fee award $300,000 to counsel for the Varnum

 Group within five business days of Class Counsel receiving their fee award; no amount will be

 paid to counsel for the Varnum Group from the Settlement Fund to avoid reducing the Class

 recovery or otherwise affecting class members; and (d) the Varnum Group will withdraw all of

 their objections with prejudice within five business days of entry of this Order (the “Varnum

 Settlement”); and

        WHEREAS, the Court has considered the Varnum Settlement and is fully advised of its

 terms and premises, and has considered the record of these proceedings, the representations,

 arguments, and recommendations of counsel for the parties, and the requirements of law.

        IT IS HEREBY ORDERED THAT:


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           A.   The parties’ oral motion at the December 10, 2020 hearing for approval of the

 Varnum Settlement, including the payment of $300,000 in attorney fees to the Varnum Group’s

 counsel to be paid from Class Counsel’s fee award, is GRANTED.

           B.   Class Counsel shall pay counsel for the Varnum’s Group $300,000 within five

 business days of Class Counsel’s receipt of their fee award in this case.

           C.   The Varnum Group’s motion for attorney fees and costs (ECF No. 342) is DENIED

 as moot.

           D.   Within five days of entry of this Order, the Varnum Group shall withdraw all of

 their objections to the Settlement with prejudice.

           E.   Any claims submitted by class members on or before January 29, 2021 (unless

 extended for good cause) shall be considered timely and processed in accordance with the court-

 approved plan of allocation and claim form (ECF 269-2). Blue Cross Blue Shield of Michigan

 shall timely provide reasonably available claims data as needed to assist members of the Varnum

 Group in submitting claims. Class Counsel shall assist class members as needed in submitting

 claims.


 SO ORDERED this 14th day of December 2020.




                                               s/Denise Page Hood
                                               United States District Judge




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